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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  CITIBANK, N.A.,

                              Plaintiff,                  Case No. 1:20-cv-06539 (JMF)

  v.

  BRIGADE CAPITAL MANAGEMENT, LP,
  ALLSTATE INVESTMENT MANAGEMENT
  COMPANY, BARDIN HILL LOAN
  MANAGEMENT LLC, GREYWOLF LOAN
  MANAGEMENT LP, HPS INVESTMENT
  PARTNERS LLC, MEDALIST PARTNERS
  CORPORATE FINANCE LLC, NEW
  GENERATION ADVISORS LLC, SYMPHONY
  ASSET MANAGEMENT LLC, TALL TREE
  INVESTMENT MANAGEMENT LLC, ZAIS
  GROUP LLC,

                              Defendants.


                         ANSWER TO AMENDED COMPLAINT

       Defendants Brigade Capital Management, LP (“Brigade”), HPS Investment Partners,

LLC (“HPS”), Symphony Asset Management, LLC (“Symphony”), Bardin Hill Loan

Management LLC (“Bardin Hill”), Greywolf Loan Management LP (“Greywolf”), ZAIS Group

LLC (“ZAIS”), Allstate Investment Management Company (“Allstate”), Medalist Partners

Corporate Finance LLC (“Medalist”), Tall Tree Investment Management LLC (“Tall Tree”), and

New Generation Advisors LLC (“New Generation”) (collectively, “Defendants”), through their

undersigned counsel, hereby respond to and answer the allegations in the Amended Complaint




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(the “Amended Complaint”)1 filed by Plaintiff Citibank, N.A. (“Citibank”) on December 8,

2020, and state as follows:

                                    PRELIMINARY STATEMENT

        1.       Defendants admit that Citibank transferred approximately $900 million to the

2016 Revlon Term Loan Lenders. Defendants otherwise deny the allegations in paragraph 1.

        2.       Defendants lack knowledge or information sufficient to form a belief as to the

allegation that Citibank’s transfer was intended to pass through an interest payment from Revlon

and therefore deny the allegation. Defendants deny the remainder of the allegations in paragraph

2.

        3.       Defendants deny the allegations in paragraph 3, except admit that Revlon claimed

publicly, after the transfers were completed, that it had made no principal payment on its debt,

and admits that UMB Bank, National Association (“UMB Bank”) has sued Revlon and

demanded in an acceleration notice that Revlon immediately pay the entire balance of the 2016

Revlon Term Loan.

        4.       Defendants admit that Brigade communicated to Plaintiff that “[i]t is not at all

clear that the funds were sent as a result of ‘clerical mistake,’” but otherwise denies the

allegations in paragraph 4.

        5.       Defendants deny the allegations in paragraph 5.

        6.       Defendants deny the allegations in paragraph 6.

                                                  PARTIES

        7.       Defendants admit the allegations in paragraph 7.




       1
           Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Amended
Complaint (Dkt. No. 193).



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       8.      Allstate admits that it is a corporation organized under the laws of Delaware, but

otherwise denies the allegations in paragraph 8. The other Defendants lack information to admit

or deny the allegations in paragraph 8.

       9.      Bardin Hill admits the allegations in paragraph 9. The other Defendants lack

information to admit or deny the allegations in paragraph 9.

       10.     Brigade admits the allegations in paragraph 10. The other Defendants lack

information to admit or deny the allegations in paragraph 10.

       11.     Greywolf admits the allegations in paragraph 11 and avers that the direct and

indirect members of Greywolf are also citizens of New Jersey. The other Defendants lack

information to admit or deny the allegations in paragraph 11.

       12.     HPS admits the allegations in paragraph 12. The other Defendants lack

information to admit or deny the allegations in paragraph 12.

       13.     Medalist admits the allegations in paragraph 13. The other Defendants lack

information to admit or deny the allegations in paragraph 13.

       14.     New Generation admits the allegations in paragraph 14. The other Defendants

lack information to admit or deny the allegations in paragraph 14.

       15.     Symphony admits that it is a limited liability company organized under the laws

of California, but otherwise denies the allegations in paragraph 15, and avers that the direct and

indirect members of Symphony are citizens of Delaware. The other Defendants lack information

to admit or deny the allegations in paragraph 15.

       16.     Tall Tree admits the allegations in paragraph 16, and avers that direct and indirect

members of Tall Tree are also citizens of Delaware. The other Defendants lack information to

admit or deny the allegations in paragraph 16.




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       17.     ZAIS admits the allegations in paragraph 17. The other Defendants lack

information to admit or deny the allegations in paragraph 17.

                                JURISDICTION AND VENUE

       18.     Defendants aver that paragraph 18 sets forth conclusions of law to which no

responsive pleading is required, but to the extent a response is required, Defendants admit the

allegations in paragraph 18.

       19.     Defendants admit that the parties are continuing to investigate whether there is

complete diversity between Citibank and Bardin Hill, HPS, and Medalist.

       20.     Defendants aver that paragraph 20 sets forth conclusions of law to which no

responsive pleading is required, but, to the extent a response is required, Defendants admit the

allegations in paragraph 20.

       21.     Defendants aver that paragraph 21 sets forth conclusions of law to which no

responsive pleading is required, but, to the extent a response is required, Defendants admit the

allegations in paragraph 21.

       22.     Defendants aver that paragraph 22 sets forth conclusions of law to which no

responsive pleading is required, but to the extent a response is required, Defendants admit the

allegations in paragraph 22.

       23.     Defendants aver that paragraph 23 sets forth conclusions of law to which no

responsive pleading is required, but to the extent a response is required, Defendants admit the

allegations in paragraph 23.




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                                    STATEMENT OF FACTS

I.     Revlon’s 2016 Loan

       24.     Defendants admit the allegations in paragraph 24, except denies that Defendants

hold a portion of the loan. Defendants aver that the portions of the loan held by funds managed

by Defendants were discharged as a result of the August 11 transfers by Citibank and that

“Credit Agreement” is not defined in the Complaint. Defendants understand that Credit

Agreement refers to the Term Credit Agreement among Revlon Consumer Products Corporation,

Revlon, Inc., the Lender Parties Hereto, and Citibank, N.A., dated as of September 7, 2016.

       25.     Defendants deny the allegations of paragraph 25, and refer to the Credit

Agreement for the terms contained therein.

       26.     Defendants admit that “Revlon is responsible for making periodic interest

payments under the Credit Agreement,” and that Revlon is permitted to pay principal ahead of

schedule. Defendants deny the remaining allegations of paragraph 26, and refers to the Credit

Agreement for the terms contained therein.

II.    The August 11 Transfer

       27.     Defendants deny the allegations in paragraph 27.

       28.     Defendants deny the allegations in paragraph 28.

       29.     Defendants admit that “[a]round 5:30 p.m. on August 11, Citibank sent

defendants notices of payment for each of the funds that defendants manage that held portions of

the Revlon loan.” Defendants further admit that paragraph 29 includes quotes from a notice that

went to Brigade Opportunistic Credit LBG Fund LTD but otherwise deny the allegations in

paragraph 29 and refer to the notice referenced therein for its full contents.




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        30.     Defendants admit that paragraph 30 includes quotes from a notice that went to

Brigade Opportunistic Credit LBG Fund LTD but otherwise deny the allegations in paragraph 18

and refer to the notice referenced therein for its full contents.

        31.     Defendants admit that paragraph 31 includes quotes from a notice that went to

Brigade Opportunistic Credit LBG Fund LTD but otherwise deny the allegations in paragraph 31

and refer to the notice referenced therein for its full contents.

        32.     Defendants admit that Plaintiff sent Brigade Opportunistic Credit LBG Fund LTD

the exact amount of outstanding principal and interest owed on its loan, which was an amount

greater than $152,424.25, and otherwise deny the allegations in paragraph 32.

        33.     Defendants deny the allegations of paragraph 33.

III.    Brigade’s Conversion of Citibank’s Funds

        34.     Defendants lack knowledge or information sufficient to form a belief as to the

allegations that “no principal payment was funded by Revlon” and “Citibank never modified the

register to reflect a full or partial discharge of principal in connection with the overpayment,”

and therefore deny the allegations. Defendants otherwise deny the allegations of paragraph 34.

        35.     Defendants deny the allegations of paragraph 35, except admit that the Wall Street

Journal printed an article bearing that title, that other news services ran articles regarding the

payments, and that Revlon claimed it “did not pay down the loan or any part of the loan.”

        36.     Defendants deny the allegations in paragraph 36, except admit that Citibank

raised the issue of purported error with Defendants more than 16 hours after paying down the

Term Loans.

        37.     Defendants deny the allegations in paragraph 37.




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       38.     Defendants deny the allegations in paragraph 38, except admit that on August 12,

2020, certain 2016 Revlon Term Loan Lenders sent a notice of default to UMB Bank.

       39.     Defendants deny the allegations of paragraph 39, except admit that UMB Bank is

the successor administrative agent under the Credit Agreement and, in that capacity, sent a notice

of acceleration of loans to Revlon on August 12, 2020.

       40.     Defendants deny the allegations in paragraph 40, except admit that UMB Bank

filed the Complaint in UMB Bank v. Revlon, No. 20-cv-06352, on August 12, 2020, and refer to

that complaint for its contents.

       41.     Defendants deny the allegations in paragraph 41, except admit that Defendants

have not returned funds transferred to 2016 Revlon Term Loan Lenders that they advise and that

paragraph 41 quotes an email sent from Brigade to Plaintiff.

       42.     Defendants deny the allegations in paragraph 42.

       43.     Defendants deny the allegations in paragraph 43.

                                      CAUSES OF ACTION

                                   FIRST CAUSE OF ACTION
                                       Unjust Enrichment

       44.     Defendants repeat, reallege, and incorporate by reference the foregoing responses

as though fully set forth in this paragraph.

       45.     Defendants deny the allegations in paragraph 45.

       46.     Defendants deny the allegations in paragraph 46.

                                   SECOND CAUSE OF ACTION
                                          Conversion

       47.     Defendants repeat, reallege, and incorporate by reference the foregoing responses

as though fully set forth in this paragraph.




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       48.     Defendants deny the allegations in paragraph 48.

       49.     Defendants admit that they have not returned funds transferred to 2016 Revlon

Term Loan Lenders that they advise and otherwise deny the allegations in paragraph 49.

                                  THIRD CAUSE OF ACTION
                                   Money Had And Received

       50.     Defendants repeat, reallege, and incorporate by reference the foregoing responses

as though fully set forth in this paragraph.

       51.     Defendants deny the allegations in paragraph 51.

       52.     Defendants deny the allegations in paragraph 52.

       53.     Defendants deny the allegations in paragraph 53.

                                 FOURTH CAUSE OF ACTION
                                    Payment By Mistake

       54.     Defendants repeat, reallege, and incorporate by reference the foregoing responses

as though fully set forth in this paragraph.

       55.     Defendants deny the allegations in paragraph 55.

       56.     Defendants deny the allegations in paragraph 56.

       57.     Defendants deny the allegations in paragraph 57.

                                       GENERAL DENIAL

       Except as otherwise previously admitted in paragraphs 1-57, Defendants deny each and

every allegation contained in paragraphs 1-57 of the Complaint, including, without limitation,

the headings, subheadings, footnotes, and prayers for relief. Defendants expressly reserve the

right to amend and/or supplement this Answer.

                               FIRST AFFIRMATIVE DEFENSE

       1.      Plaintiff has failed to state a claim on which relief may be granted.




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                              SECOND AFFIRMATIVE DEFENSE

         2.     The 2016 Revlon Term Loan Lenders were creditors of Revlon, Plaintiff made

voluntary and/or mistaken electronic payments to them in discharge of that debt, and the 2016

Revlon Term Loan Lenders and Defendants did not make misrepresentations or have notice of

Plaintiff’s alleged mistake. Therefore, neither the 2016 Revlon Term Loan Lenders nor

Defendants are under a duty to make restitution therefor.

                               THIRD AFFIRMATIVE DEFENSE

         3.     Plaintiff’s claims are preempted by the Uniform Commercial Code, as enacted in

New York.

                              FOURTH AFFIRMATIVE DEFENSE

         4.     The terms and conditions of the Credit Agreement, including section 10.7(b)

thereof, and/or the common law, entitle the 2016 Revlon Term Loan Lenders to set off the funds

received against the debt owed by Revlon.

                               FIFTH AFFIRMATIVE DEFENSE

         5.     Defendants were not recipients of the payments at issue in this action, and are

therefore not proper defendants in this action.

                               SIXTH AFFIRMATIVE DEFENSE

         6.     Plaintiff’s damages, if any, were caused by persons other than Defendants,

including Plaintiff itself.

                              SEVENTH AFFIRMATIVE DEFENSE

         7.     Plaintiff’s claims are barred or reduced by Plaintiff’s negligence and unclean

hands.




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                            EIGHTH AFFIRMATIVE DEFENSE

       8.      Plaintiff’s claim for conversion is frivolous, unreasonable, and groundless,

entitling Defendants to an award of attorneys’ fees and costs for defending against the claim.

                                RESERVATION OF RIGHTS

       Defendants reserve the right to assert any and all affirmative defenses when and if they

become appropriate, known, or available in this action, including during or after discovery. The

assertion of any affirmative defense does not assume the burden of proof as to which applicable

law places the burden on other parties.




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Dated: New York, New York                QUINN EMANUEL URQUHART &
       December 18, 2020                 SULLIVAN, LLP

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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on December 18, 2020, I served a true and correct copy of the
foregoing document, titled “Answer to Amended Complaint” by e-mail, on Plaintiff’s counsel of
record, at:

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